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 Fill in this information to identify your case:

 Debtor 1                 Paul Michael McGoey
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF LOUISIANA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      425 East 10th Ave. Covington, LA                               $313,558.00                                               La. Const. Art. 12, § 9;
      70433                                                                                                                    LSA-R.S. § 20:1
      Residence: Primary Home                                                              100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                          any applicable statutory limit


      Household: 4 Bedroom house, living                               $3,500.00                                               LSA-R.S. § 13:3881(A)(4)(a)
      room dining room and kitchen
      (Community Property)                                                                 100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                          any applicable statutory limit


      Clothes: clothing for self and spouse                            $2,000.00                                               LSA-R.S. § 13:3881(A)(4)(a)
      (Community Property)
      Line from Schedule A/B: 11.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

      IRA: Retirement: Wells Fargo -Lisa-                             $77,128.40                                               LSA-R.S. §§ 20:33(1),
      Roll IRA account ending 3227                                                                                             13:3881(D)
      (Community Property)                                                                 100% of fair market value, up to
      Line from Schedule A/B: 21.1                                                         any applicable statutory limit


      IRA: Retirement: Wells Fargo - Paul -                           $44,128.97                                               LSA-R.S. §§ 20:33(1),
      Roll IRA account ending 2602                                                                                             13:3881(D)
      (Community Property)                                                                 100% of fair market value, up to
      Line from Schedule A/B: 21.2                                                         any applicable statutory limit




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 Debtor 1    Paul Michael McGoey                                                                         Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Northwestern Mutual Insurance:                                         $0.00                                                 LSA-R.S. § 22:646
     Disability Insurance on Paul McGoey
     - (Community Property) Benefit:                                                       100% of fair market value, up to
     $10,000.00 - Policy# D1695788                                                         any applicable statutory limit
     Beneficiary: Lisa McGoey
     Line from Schedule A/B: 31.1

     Northwestern Mutual - Insured Lisa                                     $0.00                                                 LSA-R.S. § 22:646
     McGoey (Community Property),
     Term: 10 year - Benefit: $1,000,000 -                                                 100% of fair market value, up to
     Policy #18021046                                                                      any applicable statutory limit
     Beneficiary: Paul McGoey
     Line from Schedule A/B: 31.2

     Tansamerica Insurance: Life                                            $0.00                                                 LSA-R.S. § 22:646
     Insurance -Insured Paul McGoey
     (Community Property) - 20 year Term                                                   100% of fair market value, up to
     policy - $1,000,000.00 death benefit                                                  any applicable statutory limit
     Policy #42480434
     Beneficiary: Lisa McGoey
     Line from Schedule A/B: 31.3

     New York Life Insurance - Term                                         $0.00                                                 LSA-R.S. § 22:646
     Policy - Insured Lisa McGoey
     (Community Property) - $250,000.00                                                    100% of fair market value, up to
     death benefit - Policy #46009916                                                      any applicable statutory limit
     Beneficiary: Paul McGoey
     Line from Schedule A/B: 31.4


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




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